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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

LUCASYS INC.,                                Civil Action No.: 1:20-cv-02987-AT

  Plaintiff,                                 Judge Amy Totenberg

       v.                                    DEFENDANT POWERPLAN,
                                             INC.’S MOTION FOR SUMMARY
POWERPLAN, INC.,                             JUDGMENT

  Defendant.


        Defendant PowerPlan, Inc. respectfully requests that this Court enter

Summary Judgment under Rule 56 of the Federal Rules of Civil Procedure on all of

Plaintiff Lucasys Inc.’s claims. As explained in the attached Memorandum in

Support, now that discovery has concluded, there is no issue of material fact that

Lucasys’ causes of action and claims for relief cannot be maintained as a matter of

law.


Respectfully submitted this 21st day of April, 2023.




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                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rules 5.1(C) and 7.1(D), I hereby certify that the foregoing

filing complies with the applicable font and size requirements and is formatted in

Times New Roman, 14-point font.

                                      /s/ Damond R. Mace
                                     Damond R. Mace

                                     Attorney for Defendant PowerPlan, Inc.




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                          CERTIFICATE OF SERVICE

      I hereby certify that the foregoing Motion for Summary Judgment was served

on April 21, 2023 by filing it using the Court’s CM/ECF system, which will send

electronic notification of such filing to all counsel of record.


                                        /s/ Damond R. Mace
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